Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 1 of 64

    

EXHI3IT 111 -

é
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 2 of 64

 

Re aie eh RRs

j

 

dW O} Hoda ued a}

WY ST:ZT:9 ‘2T0¢/T/quAquensoy-aaleGeq

“nod 0} Yodal wiy ya} uayy - Ajday jauUeU> 0} yOeq ae NOA 41 Ing
WY 8£:2T:9 ‘2102/T/guAqUensoyvsleBeq

ypeq WI

WV bb:Z1:9 “2102/T/queunibpiaep

<ss/>(:<,,a|1lUs, =3d/q ss>

WV 0S:2T:9 ‘ZT02/T/guAUeRSOY ‘AaleBeq

Jaa Udy Jayeq puy

WY 6S:2T:9 ’ZT0Z/T/queuniBpisep

“uoos nod 0} ajyepdn

dU} eseajes pinoys aH ‘MoU 3 SAQudde ysnwW JaAMe] INO ‘apew aie sabueuD

am UES a BIPE

 

Bo

 

aw «a |

sau shes uw Ty wanes ES
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 3 of 64

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 4 of 64

  

HY poua iy Dury hoU Dey UrUuyIt) Pincyy w

WY OE-TT yseq JaeyrIW ao :

Epauaddey eur, SS
WV 80'6 Yseq JeCY IW Be 3

 

 

fe {2BPTObR 009. 29022950] dH) 9 Dd TOFH OOF 209577 dh

 

- a 9T0Z “UIZ Jaquiazag
33IN
Wd TT:% URWHS piaed

 

“sanoy Z ysed ul AjdayjauueyD Ul SUYseAuUt }ge sjleLUa DA YoeaJjNO pjoo Z pey ysn¢ sa
Wd OL? Yseq JPEYIW sy

OP IM >
WV 00TT URW} plaeq

  

uo ssed ||! pue MOUr al Ja] BUOAUe SpUaLUWODAI By J! NG a1ed JUOP Os UJEWOP Au Ajjead JOU 4

eyoye Se

WV 87:01 Yyseq jeeyriy

   

“ 9TOZ ‘UI9 saquiazeg “SW IN} ‘DUI Say Ing ‘sa

LAW OFAT AIDES IAD SE. .

S

a
ce

Dy
Es

 

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 5 of 64

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 6 of 64

 

 

 

(QUPTOPH OOP 12012509 dH) 9 1d TOrH 00> PERSE GH

 

 

byes

 

 

Ho pauiny suoyeryyou sey uewy pireq

33IN
Wd LEE URWPD plaeg

 

~ 9107 ‘UI8Z aBGoPO
Je} OS YyUOW Siu} sdn usIs Og
sAep € sed J0j sjped yOeq 0} yOeq pey aaey Ajjesayy |
dn 2uimojg 51 yD
apnp

oooAeay ea

WY SS‘OT Yseq JPET Bee}

iS} 8YS
WV SS:0T URW}D piaeg

 

ssai3oid SUINELU S1 DDI]\y Syl] SPUNDS g2
WY 978 YSEQ JeeuIW Bee 3

“ 9T0Z ‘UIZZ 4890190

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 7 of 64

   

_ EXHIBIT 114 _ _
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 8 of 64
Audit Log

7/16/2020

Cooper Square Ventures

Date Changed

Aces Noe ae ere arn

 

Jul 3, 10: 42 pm Eastern | Daylight Time —

J un 25, 12: 03 pm Eastern Dayli ght’ Time

 

Jun 16, 4: 01 pm Eastern Daylight Time oo
Jun 8, 12: 02 am Eastern Daylight Time a -
May 30, 6: 13 pm Eastern Daylight Time — :
May 20, 10:51 am Eastern DaylightTime

rR,

Dec 19 2018, 7: 23 pm Eastern Standard Time —

Dec 18 2018, 5:22 am Eastern Standard ‘Time
Dec 18 2018, 5: 16 am Eastern Standard Time _
Dec 18 2018, 5: 10. am Eastern Standard Time -

Aug 6 2018, 10: 25 am Eastern Daylight
Aug 6 2018, 10: 23 am Eastern Dayligh
Aug 3 2018, 3: 04 am Eastern Daylight

  
 

Mar 1 2018, 11:52 am Eastern Standard Time
Mar 1 2018, 10:36 am Eastern Standard Time
Feb 22 2018, 4: -40 pm Eastern Standard Time
Feb 16 2018, 5: 10 pm Eastern Standard Time ~ :
Jan 31 2018, 6:23 pm Eastern Standard Time
Jan 31 2018, 6: 19 pm Eastern Standard Time . _

Jan 31 2018, 2: 40 pm Eastern Standard Time

Jan 30 2018, 4: 28 pm Eastern Standard | Time _
Jan 22 2018, 4: 39 pm Eastern Standard ‘Time
Jan 22 2018, ‘12: 15 pm Eastern Standard Time

 

 

Jan 19 2018, 3: 13 pm Eastern Standard Time / -

J an 19 2018, 2: 59 pm Eastern Standard Time

Jan 19 2018, 2: 58 pm Eastern Standard Time _

Jan 19 2018, 2: 36 pm Eastern Standard Time — .
_ David Gitman I
David | Gitman ]
David Gitman |

Jan 19 2018, L: 37 pm Eastern Standard Time

Jan 7 2018, I: 52 pm Eastern Standard Time - - -

Jan 5 2018, ‘12: 04 pm Eastern Standard Ti

Dec 20 2017, 12: 46 pm Eastern Standard Time

Dec ul 2017, 3: 56 pm Eastern Standard Time

Oct 1 2017, 6: 41 pm Eastern Daylight Time | ; - -

Sep 27 2017, 2: 34 pm Eastern Dayli ght’

  
  

Jun 19 2017, il 47 am Eastern Daylight

Jun 16 2017, 10: 10 am Eastern Daylight Time _
Jun 9 2017, IL: 10 am Eastern Dayli ght Time
Jun 7 2017, 10: 25 am Eastern Daylight Time i

Jun 7 2017, 10: 22 am Eastern Daylight Time

Apr: 27 2017, 8: 21 pm Eastern Daylight Time -

  

 

User

esto te cette

David Gitman

David Gitman

‘David Gitman

David Gitman 1
David | Gitman

David Gitman _
~ David Gitman_
— David Gitman _
- ‘David Gitman ;
David | Gitman |
David Gitman-
David | Gitman _
- David Gitman -
- David, | Gitman |

David ‘Gitman_
. “David Gitman_
; David Gitman
. . David Gitman_
- David Gitman
; David Gitman
David C Gitman
David. Gitman
: David | Gitman
~ David Gitman L
. ~ David Gitman
; ‘David Gitman |
David Gitman }
David Gitman
David Gitman
David | Gitman
David Gitman -
‘David Gitman
David | Gitman
David Gitman |
. eee a

Logeedin .
Logged in

David |Gitman Le
David | Gitman |
David ¢ Gitman
: ‘David ( | Gitman

Event Name Date Amount History

AENEAN IDS ABE YI entered NOPPEDAI GT Ma LAP ant etl ah AL Ratt net

Logeedin. = C~™SSS
Loggeedin
Loggedin,
Loggedin,
Loggeding
Logeedin, =
Loggedin,
Loggedin,
Logged ih nce wae

Logged i in.

Logged in

Loggedin,
Loggedin,
Loggeedin,
Loggedin,
Loggeedin
Loggedin.
Loggedin,
Loggedin.

Logged i in ~ oe cei pea ue iene wana

Logged i in cts innsseneeantn nes anv

Logged in. Scouneysscni itis Soi

Logged A oc cmmusnueamnvn

Loggedin, oes
Loggeding

Loggedin. _

Logeedin,
Logeeding
Logeeding
Loggeding
Logeedin,
Loggedin
Logeedin, =
Loggedin
Loggedin, =

1/3
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 9 of 64

7/16/2020
Date Changed

Apr 17 2017, 10: 45 a am n Eastern Dayli ght Time —
Apr 3 2017, 11: 24 am Eastern Daylight Time —

Apr 3 2017, 9: 28 am Eastern Daylight Time

Mar 30 2017, 3:02 pm Eastern Daylight Time
pm. Eastern Daylight Time _ /
im. Eastern Standard Time -
5am Eastern § Standard [Time _ :

Mar 18 2017,
Mar 7 2017, I
Mar 7 2017, 1(
Feb 25 2017, 2 9 pm Eastern Standard Time

   
 

Feb 20 2017, 2:32 pm Eastern Standard Time -

Feb 17 2017, TAT pm Eastern Standard Time .

 

Feb 5 2017,
Jan 22 2017, 42
Dec 22 2016
Dec 21 2016, 7:

  
  
   
  

Eastern Standard Time

 

am Eastern Standard ‘Time.

Dec 20 2016, 5: 14 pm Eastern Standard Time ;
Dec 20 2016, 5: 05 pm I Eastern Standard iTime —
5 pm I Eastern Standard Time

 

Dec 20 2016,
Dec 20 2016

  
    
 
 
 
 
  

8 pm Eastern Standard Time

 

stern Standard Ti me

Nov 5 2016, 8:44 pm E Eastern Daylight Time

Noy 4 2016, 3:10 am Eastern Daylight Time
Nov 4 2016, 3: 06 am. Eastern Daylight Time _

Nov 4 2016, 3: 0. Eastern Daylight Time

 
  
 

Nov 1 2016
Nov L 2016, A:

 

 

am Eastern Daylight Time

Nov 1 2016, A: 25 am E Eastern, Daylight Time -_
Nov 1 2016, U: 15 am Eastern. Daylight Time '

Oct 24 2016, 9:54
Sep 26 2016, Lb: 43.

Eastern Dayli ght Time

 

 

Jul 26 2016, 2:19
Jun 26 2016
Jun 26 2016, L: .
Jun 7 2016, 2: 44 pm] Eastern Daylight Time 7

astern Daylight Time

  
   
 

May 15 2016, 7:15 pm Eastern Daylight Time _ -
May 14 2016, 10:15 pm Eastern Daylight Time
David « Gitman

Apr 30 2016, 9: 41 am Eastern Daylight Time

Mar 23 2016, LI: 03 pm Eastern Daylight ‘Time I

‘David | Gitman
David Gitman_
David Gitman

_ David Gitman

pm Eastern Standard Time

33 am | Eastern Standard Time -
92 am E Eastern Standard Time _
: 0a Eastern Standard Time /

“pm Eastern | Standard Time 7 ;

Eastern | Dayli ght Time _
Jul 31 2016, 6: 47 am Eastern Daylight Time
. - David | Gitman
1 | Eastern Daylight Time / ; David Gitman-

pm Eastern Daylight Time _

Audit Log
User

David i Gitman_
David Gitman

David Gitman

David Gitman

David Gitman
Feb 17 2017, 7 3 pm E Eastern Standard Time ae .
Feb 5 2017, 1117 pm Eastern ‘ Standard [Time _ se
m Eastern Standard Time

David Gitman_

‘David Gitman
. David Gitman _
“David Gitman
David C Gitman ;

David Gitman

Loggeding

; David Gitman_ a
Logged im use ee

David Gitman_
David Gitman

- David C Gitman-
“David Gitman 1
; David Gitman
. _ David Gitman _
“David Gitman

David Gitman |
“David Gitman
_ David Gitman
. David Gitman
Nov 1 2016, 3 3: 30 Pl Eastern Daylight Time _ -
_am Eastern. Daylight Time _ -
- David Gitman
. David | Gitman |
David Gitman ;
David Gitman ;

David | Gitman.
David | Gitman

David |Gitman |

David | Gitman
Loggeding a
Loggeding

David Gitman

David Gitman

David | Gitman
David | Gitman |

David Gitman

Event

Name Date Amount History

PORE P USAR ER AMEN PANNELL I OY FAIA EG IPN ne oe peat rey

Loggedin. SCS
Logeedin,
Loggedin,

Logged it een

Logged im cucu awe wee wes eu ene
Loggedin,
Loggedin,
Loggedin
David Gitman -

Loggedin,

Logged in, vocusee as 7 —

Logged im a

Loggedin, eo eee

DLoggedin,
Logged i
Loggedin,

Loggedim,

Logeeding

Loggedin,

Jeogged
Logged i csuevmu veut cen

Loggeeding
Loggeding

Loggedin,

Logged in

Logged im an ce.

Loggedin. oe

Logeedin,

Loggeding

Loggeding
Loggedin
Loggedin,
Loggedin

Logeedin,

Tog ged im nccswuusmmanny vues

Loggeding

Loggedin,
Loggedin
Loggedin
Logeedin
1 Loggedin,

2/3
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 10 of 64

7116/2020
Date Changed

Oct 14 2015, ,
Mar 2 2015, 10: 26 pm Eastern Standard Time

  

Oct 20 2014, 1:24 pm Eastern Daylight Time
Oct 20 2014, AL: 57 am Eastern Daylight ‘Time /
May 12 2014, 8: 15 am Eastern Daylight Time - -
May 12 2014, 8: 15 am Eastern Daylight Time

Apr 15 2014, 6: 13 pm Eastern Daylight Time

Apr 15 2014, 5: 55 pm Eastern Daylight Time _
Apr 15 2014, 10:49 am Eastern Daylight Time
Apr 15 2014, 8: 59 am Eastern Daylight Time —
Apr 15 2014, 8: 58 am Eastern Daylight’ Time. - - /
Mar 31 2014, 3: 36 pm Eastern Dayli ght Time

Feb 18 2014, 9: 19 am Eastern Standard Time

Feb 18 2014, 9:17 am Eastern Standard Time
Feb 18 2014, 9: 17 am Eastern Standard Time
Jan 30 2014, 4:39 pm Eastern Standard Time
David C Gitman Log
David Gitman Logg

J an 8 2014, 5: 27 pm Eastern Standard Time

Dec 30 2013, 2:55 pm Eastern Standard [Time D
Dec 2 2013, 2: 56 pm Eastern ‘Standard Time

: 03 pm E Eastern Daylight Time _

Audit Log

User

David Gitman_

Event ©

David 'Gitman Loggec ged i 1
David Gitman_ L me
“David Gitman. . i
. David Gitman Lo
: David Gitman af.
David Gitman PO}

_ David Gitman Logged

David Gitman Loge

David |Gitman L ogged

David ‘Gitman

David Gitman Lo,
David Gitman _bOBEEC
‘David Gitman 1O§

David Gitman OBE'
David Gitman _Log

 

_ Name Date Amount History

3/3
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 11 of 64

   

z
:
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 12 of 64

7116/2020

Audit Log

Cooper Square Ventures

Date Changed

User Event

Name Date Amount History

 

Ja an n 222 2017, 3: 42 pm ‘Eastern tandard Time
Jan 9 2017, 6: 21 pm Eastern Standard Time

 

Jan 2 2017, 2: 08 pm Eastern Standard Time Zachary Mayhew _
__ Zachary | Mayhew -
__ Zachary Mayhew _

Dec 29 2016, AL: 28 am Eastern Standard Time Zachary Mayhew _

Jan 2 2017, 1: 48 pm Eastern Standard Time
J an 2 2017, 1 46 pm Eastern Standard Time

David Gitman_ a

‘Logged i Mo conasnmsins sy oe in cuneate
~ Michael I Dardashtian Logged i MN ee ek oe
Loggedin,
Loggedin
Loggedin
Logged in. .

Dec 28 2016, ‘10: 03 am Eastern Standard Time Michael Dardashtian Logged i in ; — _

Dec 22 2016, 4: 00 pm Eastern Standard Time

Dec 21 2016, T: 23 am Eastern Standard [Time L
Dec. 20 2016, 5: 14 pm Eastern Standard Time

Dec. 20 2016, 5: 05 pm Eas m Standard Time

 

Dec 20 2016, I: ‘Al pm Eastern Standard Time

Dec 20 2016, ‘ll: 37 am Eastern Standard Time Zachary Mayhew _
Dec. 20 2016, 10: 37 am Eastern Standard Time Zachary Mayhew
Dec 20 2016, ‘10: 33 am Eastern Standard Time David Gitman _ _
Dec 19 2016, 10: 52 am Eastern Standard Time David Gitman

Dec 16 2016, 6: 30 am Eastern Standard Time
Dec 1 2016, 8: 20 am Eastern Standard Time
Nov 15 2016, 5: 21 pm Eastern Standard | Time
Nov 7 2016, 8: 20 am Eastern Standard Time

Nov 6 2016, 10: 52 am Eastern Standard Time D

Nov 5 2016, 8: ‘44 pm Eastern Da ght’ Time

Nov 4 2016, 3:10 am Eastern Daylight Time _
Nov 4 2016, 3: 06 am Eastern Daylight Time ;

 

Nov 4 2016, 3:04 am Eastern Dayli
Nov 1 2016, 8: 33 pm Eastern Day t '
Nov 1 2016, 3: 30 pm Eastern Daylight Time

        

Nov 1 2016, Ib 31 am Eastern ‘Daylight Time :
Nov 1 2016, Ib: 26 am Eastern Daylight Time -

 

Nov. 1 2016, AL: 25 am Eastern Dayl
Nov 1 2016, 11:15 am Eastern Daylight Time
Oct 28 2016, 10: 07 am Eastern D light Time
Oct 24 2016, 9: 54. am Eastern Daylight Time
Oct 2 21 2016, 5: OL pm Eastern Daylight’ Time

 

 

I David Gitman — _
Dec 20 2016, 5:05 pm Eastern Standard Time.
Dec 20 2016, 4: 58 pm Eastern Standard Time :
Dec 20 2016, 3: 23 pm Eastern Standard Time Z

7 Zachary ‘Mayhew
Dec 20 2016, I 53 pm Eastern Standard Time

Zachary Mayhew _

David Gitman _ '
DeeClay
David Gitman
David Gitman .
. David Gitman

David ¢ Gitman- 7 -
David ( Gitman a

David ¢ Gitman —

David Gitman a
David |Gitman
David Gitman oo
David Gitman — ; .

David Gitman

Zachary Mayhew _

David Gitman |
David Gitman
Dee Clay

David Gitman

David Gitman

David Gitman |

Logged in. ota vei wa ws
Loggeedin,
Loggedin.
_Loggedin,

- Logged in. —
Loggedout,
Logeedin,
Loggeedin,
Logeedin =
Loggedin.
Loggeding
Loggeding
Logeedin,
Logeedin
Logeedin,
Loggeding
Loggedin
Logeedin,
Logeedin,
Loggeding
Michael DardashtianLoggedin.

| Loggeding
Loggeding
Logeedin,
Loggedin,
Logged in

Michael | Dardashtian Logged i in .

‘David Gitman _

“Michael Dardashtian Logged i me

Loggedin,

Ww
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 13 of 64

   

-
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 14 of 64

COOPER SQUARE VENTURES LLC

Transaction Report
January 2013 - March 2017

Date _ansaction Ty Name Memo/Description

Michael Dardashtian Contribution

Beginning Balance

01/02/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil
01/16/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
03/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
03/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
04/02/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil
04/17/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
05/01/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
05/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
06/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
06/18/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil
07/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 407k Bil
07/17/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
07/31/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil
08/18/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil
09/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
09/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
10/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Mic!
10/16/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil Micl
11/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Mict
11/18/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil Mic!
12/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Micl
12/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Mict
12/31/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
01/15/2016 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/02/2016 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/18/2016 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil

Total for Michael Dardashtian Contributio

Partner 1 Draws

 

05/27/2014 Check Michael Dardashtian
05/19/2016 Check Michael Dardashtian Check 69
09/12/2016 Expense Michael Dardashtian TRANSFER COOPER SQUARE VENT
Total for Partner 1 Draws
Automobile Expense
01/07/2016 Expense Volvo VCFS DES:LEASE PMT !D:330300038
02/01/2016 Expense Volvo VCFS DES:LEASE PMT ID:330300038
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 15 of 64

03/01/2016 Expense Volvo VCFS DES:LEASE PMT ID:330300038
04/01/2016 Expense Volvo VCFS DES:LEASE PMT !D:330300038
05/02/2016 Expense Volvo VCFS DES:LEASE PMT ID:330300038
07/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
08/01/2016 Expense Voivo VCFS DES:LEASE PMT [D:330300038
09/01/2016 Expense Volvo VCFS DES:LEASE PMT ID:330300038
10/03/2016 Expense Volvo VCFS DES:LEASE PMT 1D:33030003e
11/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
12/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
06/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038

Total Automobile expense

Health Insurance

01/13/2016 Check NorthShore LIJ Care Connect Heaith Insurance

02/02/2016 Expense Insurance North Shore LIJ CareConnect Bill
02/09/2016 Expense Insurance North Shore LIJ CareConnect Bill
03/02/2016 Expense Insurance North Shore LIJ CareConnect Bill
04/01/2016 Expense Insurance North Shore LIJ CareConnect Bill
05/02/2016 Expense Insurance North Shore LlJ CareConnect Bill
06/02/2016 Expense Insurance North Shore LIJ CareConnect Bill Nortr
07/01/2016 Expense Insurance North Shore LIJ CareConnect Bill
07/18/2016 Deposit AP Intego APIntegolnsuranc DES:ACHTRANS ID
08/02/2016 Expense Insurance North Shore LiJ CareConnect Bill
09/02/2016 Expense Insurance North Shore LIJ CareConnect Bill
10/01/2016 Expense Insurance North Shore LIJ CareConnect Bill
11/02/2016 Expense Insurance North Shore LIJ CareConnect Bill
12/02/2016 Expense Insurance North Shore LIJ CareConnect Bill

Total Health Insurance
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 16 of 64

COOPER SQUARE VENTURES LLC

Transaction Report
January 2013 - March 2017

Date ansaction Ty Name Memo/Description

Michael Dardashtian Contribution

Beginning Balance

01/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
01/16/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/02/2015 ' Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
03/02/2015 Expense Michael Dardashtian CSV 401k Michael! Dardashtian CSV 401k Bil
03/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
04/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
04/17/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil
05/01/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
05/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
06/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
06/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
07/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
07/17/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
07/31/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
08/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
09/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
09/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
10/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Micl
10/16/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Micl
11/02/2015 Expense Michael Dardashtian CSV 401k = Michael Dardashtian CSV 401k Bil Micl
11/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Mict
12/02/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Mict
12/18/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil Micl
12/31/2015 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
01/15/2016 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/02/2016 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil
02/18/2016 Expense Michael Dardashtian CSV 401k Michael Dardashtian CSV 401k Bil

Total for Michael Dardashtian Contributio

Partner 1 Draws

 

05/27/2014 Check Michael! Dardashtian
05/19/2016 Check Michael Dardashtian Check 69
09/12/2016 Expense Michael Dardashtian TRANSFER COOPER SQUARE VENT
Total for Partner 1 Draws
Automobile Expense
01/07/2016 Expense Volvo VCFS DES:LEASE PMT iD:330300038
02/01/2016 Expense Volvo VCFS DES:LEASE PMT ID:330300038
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 17 of 64

03/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
04/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
05/02/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
07/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300032
08/01/2016 Expense Volvo VCFS DES:LEASE PMT !D:330300038
09/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
10/03/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
11/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
12/01/2016 Expense Volvo VCFS DES:LEASE PMT 1D:330300038
06/01/2016 Expense Volvo VCFS DES:LEASE PMT ID:330300038

Total Automobile expense

Health Insurance

01/13/2016 Check NorthShore LiJ Care Connect Health Insurance

02/02/2016 Expense Insurance North Shore LIJ CareConnect Biil
02/09/2016 Expense Insurance North Shore LIJ CareConnect Bill
03/02/2016 Expense Insurance North Shore LIJ CareConnect Bill
04/01/2016 Expense Insurance North Shore LIJ CareConnect Bill
05/02/2016 Expense insurance North Shore LIJ CareConnect Bill
06/02/2016 Expense Insurance North Shore Lid CareConnect Bill Nortr
07/01/2016 Expense Insurance North Shore LIJ CareConnect Bill
07/18/2016 Deposit AP Intego APintegoinsuranc DES:ACHTRANS ID
08/02/2016 Expense Insurance North Shore LlJ CareConnect Bill
09/02/2016 Expense Insurance North Shore LIJ CareConnect Bill
10/01/2016 Expense Insurance North Shore LIJ CareConnect Bill
11/02/2016 Expense Insurance North Shore LlJ CareConnect Bill
12/02/2016 Expense Insurance North Shore LIJ CareConnect Bill

Total Health insurance
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 18 of 64

Account

Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael! Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio
Michael Dardashtian Contributio

Partner 1 Draws
Partner 1 Draws
Partner 1 Draws

Automobile Expense
Automobile Expense

Split

Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America

Bank of America
Bank of America
Bank of America

Bank of America
Bank of America

Amount

500.00
(729.16)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)

(20,479.16)

~10,000.00
-5,000.00

-5,000.00

-$ 20,000.00

448.89
448.89
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 19 of 64

Automobile Expense
Automobile Expense
Automobile Expense
Automobile Expense
Automobile Expense
Automobile Expense
Automobile Expense
Automobile Expense
Automobile Expense

Automobile Expense

Insurance Expense
Insurance Expense
insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense
Insurance Expense

Insurance Expense

Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America

Bank of America

Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America

448.89
448.89
448.89
448.89
448.89
448.89
448.89
448.89
448.89
448.89

5,386.68

1,405.00
1,405.00
132.00
1,471.00
1,471.00
1,471.00
1,471.00
1,471.00
~272.60
1,471.00
1,471.00
1,471.00
1,471.00
1,471.00

17,379.40

63,245.24
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 20 of 64

COOPER SQUARE VENTURES LLC

Transaction Report
January 2013 - March 2017

Date Transaction Type Name
David Gitman Contribution

Beginning Balance

01/02/2015 Expense David Gitman
01/16/2015 Expense David Gitman
02/02/2015 Expense David Gitman
02/18/2015 Expense David Gitman
03/02/2015 Expense David Gitman
03/18/2015 Expense David Gitman
04/02/2015 Expense David Gitman
04/17/2015 Expense David Gitman
05/01/2015 Expense Pershing LLC FBO
05/18/2015 Expense Pershing LLC FBO
06/02/2015 Expense Pershing LLC FBO
06/18/2015 Expense Pershing LLC FBO
07/02/2015 Expense David Gitman
07/17/2015 Expense David Gitman
07/31/2015 Expense David Gitman
08/18/2015 Expense David Gitman
09/02/2015 Expense David Gitman
09/18/2015 Expense David Gitman
40/02/2015 Expense David Gitman
10/16/2015 Expense David Gitman
11/02/2015 Expense David Gitman
11/18/2015 Expense David Gitman
12/02/2015 Expense David Gitman
12/18/2015 Expense David Gitman
12/31/2015 Expense David Gitman
01/15/2016 Expense David Gitman
02/02/2016 Expense David Gitman
02/18/2016 Expense Pershing LLC FBO

Total for David Gitman Contribution

Partner 2 Draws
05/27/2014 Check David Gitman
Total for Partner 2 Draws

Automobile Expense
01/29/2016 Expense BMW
02/29/2016 Expense BMW
03/29/2016 Expense BMW
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 21 of 64

04/29/2016 Expense BMW
07/29/2016 Expense BMW
08/30/2016 Expense BMW
09/29/2016 Expense BMW
10/31/2016 Expense BMW
11/29/2016 Expense BMW
12/29/2016 Expense BMW
05/31/2016 Expense BMW
06/29/2016 Expense BMW

Total Automobile expense
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 22 of 64

Memo/Description

David Gitman 401K Contribution

Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi

Pershing LLC FBO Cooper Squar Bi Pershing LLC FBO Cooper
Pershing LLC FBO Cooper Squar Bi Pershing LLC FBO Cooper
Pershing LLC FBO Cooper Squar Bi Pershing LLC FBO Cooper
Pershing LLC FBO Cooper Squar Bi Pershing LLC FBO Cooper
Pershing LLC FBO Cooper Squar Bi Pershing LLC FBO Cooper
Pershing LLC FBO Cooper Squar Bi Pershing LLC FBO Cooper

Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi
Pershing LLC FBO Cooper Squar Bi

Account

David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution
David Gitman Contribution

Partner 2 Draws

Split

Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America
Bank of America

Bank of America

Bank of America

BMWFINANCIAL SVS DES:BMWFS PYMT
BMWFINANCIAL SVS DES:BMWFS PYMT
BMWFINANCIAL SVS DES:BMWFS PYMT

Automobile Expense Bank of America
Automobile Expense Bank of America
Automobile Expense Bank of America
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 23 of 64

BMWFINANCIAL SVS DES:BMWES PYMT Automobile Expense Bank of America
BMWFINANCIAL SVS DES:BMWFS PYMT Automobile Expense Bank of America
BMWFINANCIAL SVS DES:BMWEFS PYMT Automobile Expense Bank of America
BMWFINANCIAL SVS DES:BMWFS PYMT Automobile Expense Bank of America
BMWFINANCIAL SVS DES:BMWFS PYMT Automobile Expense Bank of America
BMWFINANCIAL SVS DES:BMWFS PYMT Automobile Expense Bank of America
BMWEINANCIAL SVS DES:BMWFS PYMT Automobile Expense Bank of America
BMWEFINANCIAL SVS DES:BMWFS PYMT BMWFINANCIAL S' Automobile Expense Bank of America

BMWFINANCIAL SVS DES:BMWFS PYMT BMWFINANCIAL S' Automobile Expense Bank of America
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 24 of 64

Amount

500.00
(729.16)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
(750.00)
En)

(20,479.16)

-10,000,00
$ 10,000.00

528.57
528.57
528.57
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 25 of 64

528.57
528.57
528.57
528.57
528.57
528.57
528.57
528.57
528.57
6,342.84

36,822.00
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 26 of 64

COOPER SQUARE VENTURES LLC
Cash and Expenses Distribution

 

BOFA Account
For the Year 2014 to 2016

dgitman mdash TOTAL
Owners Draw 20,479.16 20,479.16 40,958.32
Cash Distribution 10,000.00 20,000.00 30,000.00
Automobile Expense 6,342.84 5,386.68 11,729.52
Heaith Insurance - 17,379.40 17,379.40

 

TOTAL 36,822.00 63,245.24 100,067.24
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 27 of 64

COOPER SQUARE VENTURES LLC
Cash and Expenses Distribution

 

BOFA Account
For the Year 2014 to 2016

dgitman mdash TOTAL
Owners Draw 20,479.16 20,479.16 40,958.32
Cash Distribution 10,000.00 20,000.00 30,000.00
Automobile Expense 6,342.84 5,386.68 11,729.52
Health Insurance - 17,379.40 17,379.40

 

TOTAL 36,822.00 63,245.24 100,067.24
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 28 of 64

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 29 of 64

 

Apeoy “!

 

 

 

, (UPROFH O0> 7>(19907 BH) 9 Dd Tork oorisresey dH

 

ot
e

te,

 

  

]roym ow urecha ysnp

APA
COShG pres

 

Bunnawos pusss9pun j.uop 2 en pain Sheaye nad Lun

Prd GS

 

oven, mod oj payne, OM JoyD Ey

FARURSOD yons US 0} Baby | JF] OBR quOL IO WRUOU B DUI POT ROA,

 

MOU Odd) GARY NOS ing Bon Bury +

Ped TP Dery

foo + NOK OUI Ou pray NOK Aeyy Uy

Asmien Gt moa aanoy «

ueWyD piaeg

 

ave :

wee one ATS

 

SLI R aE Wiad J Giles lb Uo

fe HG) Rng SO adit at
uotwe, “BREW Bdeadey o's WZ) ;

% “REST PAGCOry a
Aouezt -u aMNDUETMUA OE LAD eo

Rivayz mma.  §

 

Kaneda 39 Buty 0

: . :
eu) pap sey Aesietiog pasips gle.

oy, RS) oueody ademtioiay a |

soy ot nwgotdenpons HuHeLDHOY "RY

Ss VgauoD Bay paul Buses Bays }
va, dososadeu Eudndod -o'e UD Bis ?

Mad? SON MOUARNID Ged &
Fog mansueindg *& 4

TAREE

aaave “"TMUFanY 2102 Od ewig VS.

“pe nba coe tot Aa 2

 

Wd $b YEWHD piaeq &
NE
odes uaaue my
+ COANS URES OF
i
i
a t

—_ !
a &

 

 

RANK Oe AARIA OMA at

      

adn, uM. ed ek

 

SEAS SS oNeasin ck ono Ae any ogbed Pune FET NaWaTS)

 

  
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 30 of 64

   

-
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 31 of 64

CSV Mail ~ Books 7/30/20, 5:59 PM

   

 

 

Gmail Whewany Lath hg
Books
David Gitman <david@coopersquare.ventures> Mon, Oct 31, 2016 at 6:46 PM

To: Michael Dash <mdash@ndap-llc.com>

| want to have a grip on what has happened over the past 10 months. I'm fine with Freeman doing it.

On Mon, Oct 31, 2016 at 6:44 PM Michael Dash <mdash@ndap-lic.com> wrote:
There's hardly anything to do - it's an hour of work a month. If you want Freyman can do it but don't see the point of
| paying someone right now.

On Oct 31, 2016, at 6:42 PM, David Gitman <david@coopersquare.ventures> wrote:

| would rather have a third-party doing right now. Plus | just can't find the time to get through it
On Mon, Oct 31, 2016 at 6:41 PM Michael Dash <mdash@ndap-llc.com> wrote:
, What are you having issues with? Why don't we run thru them see if | can make sense of it..
> On Oct 31, 2016, at 6:36 PM, David Gitman <david@coopersquare.ventures> wrote:
i>
> Hey,
: >
, > | don't understand what's going on with the books. I'm going to pull someone in to make sense of
; them.

 

https://mail.google.com/mail/u/O7ik=cc55727e1c&view=pt&search=.,.3A1549747077360567535&dsqt=1&simpl=msg-f%3A154974707 7360567535 Page 1 of 1
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 32 of 64

CSV Mail - Books 7/25/20, 4:54 PM

1 Gmail

   

 

Books

 

David Gitman <dgitman@ndap-llc.com> Tue, Nov 1, 2016 at 11:30 AM
To: Greg Freyman <gfreyman@taxproff.com>
Cc: Michael Dash <mdash@ndap-llc.com>

Hi Greg,

Thanks for taking the time for my call today. As we spoke about please reconcile our books for the following 3
companies

NDAP (Car Part Kings)

Cooper Square Ventures

ChannelReply

| expect to have clear reporting on the 3 companies income, expenses, cash flow, P&L, etc.

TIA,

David

[Quoted text hidden]

https://mail.google.com/mail/u/0?ik=cc55727e 1c&view=pt&search=...=msg-f%3A15498102619895804277&simpl=msg-f%3A1549810261995804277 Page 1 of 1
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 33 of 64

 

 

CSV Mail - Dee Clay 7/25/20, 4:54 PM
[ Gmail PC ue) TIRST) AMIR A Lae tier Loa th
Dee Clay
David Gitman <david@coopersquare.ventures> Tue, Nov 1, 2016 at 5:08 PM

To: Michael Dash <mdash@ndap-lic.com>
This girls knows of Joel too. | don;t feel like she's trying to rip me off like Greg.

On Tue, Nov 1, 2016 at 5:01 PM Michael Dash <mdash@ndap-lic.com> wrote:
Up to you - Greg was quoting me at $100 but said he would work with you to scope out project if you wanted...

You make the call - | trust you.

Michael Dash
' ndap

t
{
t
\
i

Tel: (646) 553-5918
mdash@ndap-lic.com | http://www.ndap-lic.com

 

“on Tue, Nov 1, 2016 4:33 PM, David Gitman david@coopersquare.ventures wrote:
; } | found a great bookkeeper on LI who is happy to work with Joel at 1/2 the price.

https://mail.google.com/mail/u/O?ik=ccS5727eIc&view=pt&search=...3A1549831499889089728&dsqt=1&simpl=msg-f%3A1 549831499889089728 Page 1 of 1
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 34 of 64

ffs | moved the CK peoples account te 7 77 8 wth © =ecount.
November 8th, 2016 ~

I'm keeping Alice in the NDAP account =~" ~

# Michael Dash 2:58 pm
) k - i got a notification abt a cr acct too

 

i dont need 2

David Gitman 2:58 Pm
» You only have one

eee

Cara

Michael Dash 2:58 pw
k

 

David Gitman 2:59 PM
But | set you as an admin for both

 

I mean

1 Michael Dash 2:59 pm
got it

 
  
   

s< David Gitman 2:59 pm

a Mee tine om deem mmm meta bet mh OD Lawn a Bannan ae lb
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 35 of 64

 

 

CSV Mail - Books 7/25/20, 4:53 PM
~ Gmail Riosee Dag cies dag henge mete
Books
Greg Freyman <gfreyman@taxproff.com> Thu, Nov 10, 2016 at 6:33 AM

To: Michael Dash <mdash@ndap-lic.com>

Any updates? He disappeared and he needed everything asap. I'm left very confused.
[Quoted text hidden]

https://mail.google.com/mail/u/07ik=cc55727e1c&view=pt&search=...=msg-f%3A1550610691834553763&simpl=msg-f%3A1550610691834553763 Page 1 of 1
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 36 of 64

- David Gitman 1:11 pm January 4th, 2017

y K

Michael Dash 2:08 pm

§ what email address do you want on the chargebee email admin?

_ David Gitman 2:09 PM
, | have no preference .

GAA AR
Michael Dash 2:09 Pm ce .
§ kisent to ndap

David Gitman 2:22 PM
Did you send an invite to @zmayhew too?

Michael Dash 2:22 pm
§ yea he has accounting access

David Gitman 2:23 pm
We have QBO access now?

 

  

Michael Dash 2:24 Pm

Ee na ite nant in tha admin vint
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 37 of 64

CSV Mail - Books 7/25/20, 4:57 PM

 

: .
Solas en) Cape ly oot
j l lal CERAM Le Bay

 

 

Books

 

David Gitman <david@coopersquare.ventures> Sun, Jan 22, 2017 at 7:15 PM
To: Michael Dash <mdash@ndap-llc.com>

Awesome, thanks! She's tough.
On Sun, Jan 22, 2017 at 7:04 PM Michael Dash <mdash@ndap-llc.com> wrote:
Yea give him my contact info and I'll try and find some time for him.

> On Jan 22, 2017, at 4:22 PM, David Gitman <david@coopersquare.ventures> wrote:
[>

i > Hey Mike,
>

, > Zachary doesn't seem interested or is too busy in helping getting our books updated. So, | found someone local. |
spent the afternoon with a bookkeeper who's daytime gig is at Andersen Tax. We aren't able to figure out what's

, going on with our books. | need you to step in and sort them out. I'm at my limit.

https://mail.google.com/mail/u/0?ik=cc55727e1c&view=pt&search=...3A1957272238395859283&dsqt=1&simpl=msg-f%3A1557272238395859283 Page 1 of 1
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 38 of 64

CSV Mail - NDAP QBO access 7/25/20, 4:59 PM

   

1 Gmail

NDAP QBO access

 

Michael Dash <mdash@ndap-llc.com>
To: Jeremy Falk <jeramy.falk@gmail.com>

| have requested Freyman update the account to Quickbooks Online Plus which gives us 5 user seats and 2 accountant seats. They have also added Zachary Mahew as a user so he has full acces

Michael Dash

ndap

Tel: (646) 553-5916

mdash@ndap-lic.com | hitp:/Awww.ndap-lic.com

On Tue, Jan 24, 2017 11:40 AM, Michael Dash mdash@ndan-Ile.com wrote:
Dave has Company Administrator rights. The only difference between Company Administrator and Master Administrator is that the Master was the one who set up the account. Here is an article:

| We are only able to give accountant access to 2 CPA's, 1 is Greg Freyman the current company's CPA and the other is Mary Adnan at David's request. If David wants Zachary to have access we
i The company's CPA at the moment has Master Administrator access. Dave should have every bit of information that he needs accessible to him and the CPA of his choosing. Should we need to
|

| | can be accessible and the companies CPA can be accessible to discuss the books anytime he wants.

Michael Dash

ndap

| Tel: (646) 553-5918
mdash@ndap-ic.com | http://www.ndap-lic.com

: On Tue, Jan 24, 2017 11:16 AM, Michae! Dash mdash@ndap-iic.com wrote:
| As per Angela's email below:

Greg Freyman is the Master Admin on the account as he was the CPA who set up the account, handles the books as NDAP's CPA. The billing Is registered through Freyman so we receive the |

: Dave has Company Admin rights which gives him full access to the books. He can make changes as he see's fit and run any report he wants. This is the highest rights access available.

’ Mike has limited access {o the books as of now which | am fine with. | can see basic reports and reconcile numbers.
Mary has been added as a CPA which gives her full CPA access to the books to adjust and reconcile as she's fit.
i

: We can only have 2 CPA's on the account. Freyman is 1 CPA and Mary is the other CPA. Zachary was removed as David informed me we weren't working with him anymore which is why Mary

i Trying to be fully transparent here. As I've stated before, more than willing to sit down with both CPA's and Dave to help clarify how the books have been constructed and reconciled in the past.

i Please let me know if there are any further questions.

: Michael Dash

‘ ndap

i Tel: (646) 553-5918

: : mdash@ndap-lic.com | http://www.ndap-llc.com

 

 

| | + Forwarded message
: From: Angela Freyman <afreyman@taxproff.com>
i Date: Tue, Jan 24, 2017 at 10:47 AM

| Subject: NDAP Q8O access

| To: Michael Dash <mdash@ndap-lic.com>

: Ce: Greg Freyman <gfreyman@taxproff.com>

| Hi Mike,

The following people currently have access to NDAP'’s QuickBooks Online file: Greg is Master Admin, David is Company Admin, you have User rights (non-admin), and Mary Faith is invited as 2

 

 

 

!

https://mail.google.com/mail/u/O?ik=cc55727e1c&view=pt&search=...3A1557427986875710394&dsqt=1&simpl=msg-f%3A1557427986875710394 Page 1 of 2
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 39 of 64

CSV Mail - NDAP QBO access 7/25/20, 4:59 PM

 

Manage Users

 

 

i Customers
ii
i Contact Name Email Address Access Rights
: t Vendors a tA a a OO ee ag erie bare es no) Iyee See owenttion eter eaeee Scere wes so
Greg Freyman / glreyman@laxproff.com . ae Master Admin
hy ,
|| Employees David Giman, . dgiman@ndap-liccom Co Company Admin
. Michael Dash mdash@ndap-lic.com Custom Access
Transactions hae as So Lo TRCRSNEN CAD NC COM we ne be - te
Reports
Sales Tax

 

 

Accounting Firms

You can invite up to two accounting or bookkeeping firms to provide them, and any employees they may have authorized, access to your company data.

 

 

i Contact Name Email Address Status

if ene emia attekcentn ne nine ttt netted sncabestteti mee Ris nie erence Ane ence Meena emia mn nateesninminenetinte res shane tenengena riety retina Mannenvsie fanaa te amen ifanmnsn stinnnnnnysanen staat tannanens Ate
Greg Freyman we ww Seyman@laxproficom Ale

i

it . : Invited’ Resend :
i Mary Faith Andan . ..,,_faith_andan@yahoo.com ee he arate
hi

iy

ti

|

by

i

|

an

if

| Re] accountingTopay

|) ERIE

 

i i Angela Freyman, MBA
| | Freyman CPA, P.C.

i | 57 Washington Avenue
| Westwood, NJ 07675

| Phone: 646-435-4505
Fax: 646-568-9804

  

 

| www.taxproff.com
: 2 IRS Circular 230 Disclosure

i To ensure compliance with requirements imposed by the IRS, we inform you that any U.S. federal tax advice contained in this document is not intended or written to be used, and c
| | recommending to another party any transaction or matter that is contained in this document.

https://mail.google.com/mail/u/O?ik=cc55727e1c&view=pt&search=...3A1557427986875710394&dsqt=1&simpi=msg-f%3A155 7427986875710394 Page 2 of 2
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 40 of 64

 

 

CSV Mail - NDAP 7/25/20, 4:58 PM
/ i Gmail Nica! Chgoh: Senge ave G ie lo
NDAP
Michael Dash <mdash@ndap-lic.com> Tue, Jan 24, 2017 at 12:29 PM

To: Angela Freyman <afreyman@taxproff.com>
Cc: "Greg Freyman, CPA, CGMA @ Freyman CPA P.C." <gfreyman@taxproff.com>

Thank you Angela.

Michael Dash

ndap
Tel: (646) 553-5918
mdash@ndap-lic.com | http:/Avww.ndap-lic.com

On Tue, Jan 24, 2017 12:29 PM, Angela Freyman afreyman@taxproff.com wrote:
: That's done
i

On Tue, Jan 24, 2017 at 12:21 PM, Michael Dash <mdash@ndap-lic.com> wrote:

| spoke with Quickbooks they said you can upgrade the account from within your login. Go to gear icon,
: accountant settings, billing and subscription and upgrade.

! Please update the account to Online Plus which should give us a total of 5 seats.

§
i
i
5
i
{
{

| Please then add Zachary Mahew - mayhewfinancial@gmail.com as a user as well.
Please confirm when this is done.

| | Michael Dash

' | ndap

|, Tel: (646) 553-5918

i mdash@ndap-lic.com | http:/Awww.ndap-llc.com

Bag accountingtopay

' Angela Freyman, MBA
Freyman CPA, P.C.

' 57 Washington Avenue
; Westwood, NJ 07675

5
t

https://mail.google.com/mail/u/0?7ik=cc557 27e1c&view=pt&search=...3A1557427890559599628&dsqt=1&simpl=msg-f%3A1557427890559599628 Page 1 of 2
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 41 of 64

 

 

 

CSV Mail - Upgrade QBO 7/25/20, 5:05 PM
~ Gmail Wignag? bash sys,
Upgrade QBO
David Gitman <dgitman@ndap-lic.com> Mon, Apr 10, 2017 at 1:40 PM

To: Mary Faith Andan <mfgandan@gmail.com>, Michael Dardashtian <mdash@coopersquare.ventures>, Zachary
Mayhew <zachary@mayhewfinancialsolutions.com>

Thank you kind sir.

On Mon, Apr 10, 2017 at 1:14 PM Zachary Mayhew <zachary@mayhewfinancialsolutions.com> wrote:
Done.

Zachary D. Mayhew
| Owner/Financial Consultant
| Mayhew Financial Solutions LLC

Email: zachary@mayhewfinancialsolutions.com
Phone: 812.240.8953

MAYHEW FINANCIAL SOLUTIONS

 

 

On Mon, Apr 10, 2017 at 10:04 AM, David Gitman <dgitman@ndap-lic.com> wrote:
Zachary,

2 Can you upgrade Cooper Square Ventures to Plus and enable class tracking?

|
| | On Mon, Apr 10, 2017 at 10:03 AM Michael Dash <mdash@ndap-llc.com> wrote:

So | just got off phone w/ them again.. billing is wholesale thru Zach Mahew, he has to do the upgrade for us.

| | Michael Dash

| | ndap

| | Tel: (646) 553-5918

mdash@ndap-llc.com | http:/Avww.ndap-lic.com

 

i ot

| On Mon, Apr 10, 2017 9:45 AM, Mary Faith Andan mfgandan@gmail.com wrote:

i Ops.... Im sorry. | checked the CSV and the subscription in QBO Customer Service. At this point the

 

https://mail.google.com/mail/u/O0?ik=cc55727e1c&view=pt&search=a...%3A1564313951074711910&dsqt=1&simpl=msg-f%3A1564313951074711910 Page tof 5
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 42 of 64

CSV Mail - Upgrade QBO

  

i | Thanks
| | Faith

i
i
|
pod
$
i
|
{
t

   

7/25/20, 5:05 PM

| | | company is on QBO Essentials.

| We need to upgrade to QBO Plus.

On Mon, Apr 10, 2017 at 9:04 PM, Michael Dash <mdash@ndap-lic.com> wrote:
| do not see where to do this - it says an admin can do this as well, can you one of you give it a shot?

Classes and Locations - How can | track different parts of my company?
| The best method to track different parts of your company is to use either Class Tracking or Location

Tracking. Both features let you track income and expenses for separate parts of your business. You can

: Plus.

 

 

 

 

 

 

 

 

 

1.

6

{
i
a)
t
i

7 use either one of them or both of them together. These features are available only inQuickbooks Online
| _ Classes - can are assigned to individual lines of a transaction.

| Locations - are assigned to an entire transaction.
}

| You can choose the term by which Location tracking is

i described within Settings as well. You can then run reports for
‘the whole company or per class or location. (Note: This setting
| is not available to Australian Users).

To turn on either of these features:

Click on the Gear icon > Company Settings (or Account and Settings depending on what you
see).

Click on Company (orAdvanced if you entered this menu throughAccount and Settings) from the
left menu bar

Inthe Categoriessection, click on theEditicon

Place a check in the box for the category you want to enable and select the settings for the
category

Click Save

| To establish the categories:

Go to the Gear icon > All Lists
Click on ClassesorLocations
Click on New on the upper right
Enter the information

Click Save

| Note: In order to add or modify Classes or Locations you must have master administrator, company
administrator or the appropriate custom user access. If you are unsure of your access rights please
: contact your master administrator.

| , Michael Dash
_ndap

https://mail.google.com/mail/u/0?ik=cc55727e1c&view=pt&search=a...3A1564313951074711910&dsqt=1&simpl=msg-f%3A1564313951074711910 Page 2 of 5
  

Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 43 of 64

CSV Mail - Upgrade QBO 7/25/20, 5:05 PM
: | Tel: (646) 553-5918
ott
Lis | mdash@ndap-lic.com | http://www.ndap-lic.com
mh
PP boa
ik i {
i
Li |

 

 

 

 

 

 

 

 

 

| On Mon, Apr 10, 2017 8:50 AM, David Gitman dgitman@ndap-lic.com wrote:
| Mike,

| ‘can you try to turn on class tracking?

On Sat, Apr 8, 2017 at 12:33 PM David Gitman <dgitman@ndap-llc.com> wrote:
| We already might have the right edition. Can you try to turn on class tracking?

 

 

 

 

  

On Apr 7, 2017, at 6:34 PM, Michael Dash <mdash@ndap-lic.com> wrote:
Nowhere still an open ticket, they have no idea why we cannot upgrade at this point.
/
i
i
On Fri, Apr 7, 2017 5:33 PM, David Gitman dgitman@ndap-llc.com wrote:
i i Did you get anywhere with Intuit on this?
-
fo On Tue, Apr 4, 2017 at 9:48 PM Mary Faith Andan <mfgandan@gmail.com> wrote:
bg , Dear Michael,
i | i
/ | | would just like to confirm if the QBO is already updated as QBO Plus?
i [i
i , | Thanks
os ' Faith
| “On Tue, Apr 4, 2017 at 4:59 AM, David Gitman <dgitman@ndap-llc.com> wrote:
_ Thanks. Keep us posted.
On Apr 3, 2017, at 4:52 PM, Michael Dash <mdash@ndap-lic.com> wrote:
| Dad
/ 7
| | just got off phone with QB they have an open ticket with the tier 3 support team..
Don’t know why we do not have access to upgrade.. they said it might be under
P| and accountant account but | checked with Freyman and he does not have it..
i Was it moved under Mahew? As far as | can tell we are the Master Admin's that
bon fo is why they are confused..
7 /
Po : Michael Dash
Pi Di ndap
pa | pd Tel: (646) 553-5918
Lo Db mdash@ndap-ilc.com | http:/Awww.ndap-lic.com
pig i |
job 4 pot
Polo pd

https://mail.google.com/mail/u/O7ik=cc55727e1c&view=pt&search=a...3A1564313951074711910&dsqt=1&simpl=msg-f%3A1564313951074711910 Page 3 of 5
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 44 of 64

CSV Mail - Upgrade QBO 7/25/20, 5:05 PM
On Mon, Apr 3, 2017 12:56 PM, David Gitman david@coopersquare.ventures wrote:
pod Ok, thanks.
pj
po On Mon, Apr 3, 2017 at 12:48 PM Michael Dash <mdash@ndap-lic.com> wrote:
: No this is not Freedmans acct.. I'll try and call QBO in a bit and
a |; find out whats up

Michael Dash

‘ ndap
Tel: (646) 553-5918
_ | mdash@ndap-llc.com | http://www.ndap-lic.com
i / 1 On Mon, Apr 3, 2017 12:39 PM, David Gitman david@coopersquare.

| ventures wrote:
i’ Dis Freedman do something with this account? Can you talk to QBO? You're the

: | master admin.

 

   

 

_ On Mon, Apr 3, 2017 at 12:23 PM Michael Dash <mdash@ndap-llc.com> wrote:

| The only place to upgrade is here and | get this error
, Message -

  
  

| i Michael Dash
' | | ndap
' Tel: (646) 553-5918

  

    
    
     
  
 
   
   
 
 
  
 

 

 

   

i mdash@ndap-lic.com | http:/Awww.ndap-lic.com
hd
On Mon, Apr 3, 2017 12:15 PM, David Gitman david@coopersquare.
pid i | | | ventures wrote:
2 =o /) Lesy
i Bd ; ; On Mon, Apr 3, 2017 at 12:15 PM Michael Dash <mdash@ndap-llc.com>
hod DG : ' | wrote:
a : bd ' | Which account?
pe || Michael Dash
oo Li _ ndap
Pid fy | Tel: (646) 553-5918
i | mdash@ndap-llc.com | http:/Avww.ndap-lic.com
Do : a
Pod : + + On Mon, Apr 3, 2017 11:29 AM, David Gitman david@coopersquare.
- | ventures wrote:
a | ' : Can you upgrade QBO to the Plus version? https://community.
cS P| i | +. | intuit.com/articles/1146163-upgrading-my-u-s-version-of-quickbooks-
pd bo iyo: } f online
i 7
oe

 

 

https://mail.google.com/mail/u/O?ik=ccS5727e 1c&view=pt&search=a...3A1564313951074711910&dsqt=1&simpl=msg-f%3A1564313951074711910 Page 4 of 5
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 45 of 64

   

q
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 46 of 64

 

Th Mw were wer pase oe SM ere ee Se swe emysy

Wd 65:7 UBWYS piaeg

1) 103
Wd 6S: Yyseq joeysip

URdU |

YjOq JO} UlIpe Ue se NOA jas | Ing
Nd 65:7 URW} plaeg

Wd 8S:Z Yyseq jaeysip

UO aAeY AJUO NOA
Wd 85:7 URW} plAaeg

 

Z Peau juop |

00} 399e ID e Jqe UOHeIYQOU e 108 | - y
Wd 85:7 Yyseq jaeysiy

 

. ~AUNOIIE qYQN 94} U! Bay Suldaay Ww]
a . 9102 wag JaqUIaAON
JUNI Se oe, See y eee ~ 0} JuNOdIe sajdoad yD ay pav~ow | &

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 47 of 64

2)

ture Me wet SAE pers wp we

Wd 2-7 Yyseq jeeyripy

éMOU SS8I9e OGD dAeY aA

Wid €@:% URW} plaeg

ss920e SuQuNOdIe sey ay ead

Wd 7% Yseq jaeyd

£00} MAYACWZ® 0} SPAU! Ue PUas NOA DIG
Wd 22:7 URW}ID plaeg

depu 0} juas 1 y

Wd 60:7 Yyseq jaeyrpy

sdUdJajaid OU dAeY |

Wd 60: UBWID plaeg

cUilupe [lea saqasseyd ay} UO JUeM NOA Op ssoippe jiewa }eum
Wd 80:7 Yyseq jaeyaipy

“ LUOZ ‘Ud Avenues Wd TTT UBUD piaeg

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 48 of 64

 

one

uv oS

Uh SS VAUATUCIMOIUIC FAUNAS

y4omye Ul SH ead

WV Zr:0T Yyseq jaeyuripy

(Papa) SUOLIeSUeI} BAS 0} padu |
WY Cr:0T URW} plAaeg

é}43i uoQouny 8uquodas au jueM Nn
WY Zr0T Yyseq jaeyrsip

éSjUsUWa}e}s S1edA jse| LIOdXa JO UI3O} XO INOA dW dAIZ NOA ue

UL} |

uozewYy
WY THOT UBLUPD piaeg

é4Of }1 SJEUM ap! ou
WY THOT Yyseq Jaeyripy
(PUPS) C9TOZ/ZTZ/LO UO BO'S$ 404 aBeUD xo ue adey Nod og
mon ata ene wee WY Ov:0T URW plAeq
~ LL0Z ‘pigz Aenuer
co Apuey 0} ajaqe ysod yey} puas

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 49 of 64

 

WODSSdIOXSUPINBWE BUul;UO

 

ZSJUdWAIe
i$ dio YaAW =ACUPQO=X98PU! PALOSYO=KXaEpuldgysy Us=92e49]UaWAa}e1S Baiyjne=adAz ysanbas
é0P"}SI]/SN/}UWjSa/EDAW/WOd'ssaldxsUuRd awe sUIUO/:sdyY assay WO

WY 00:TT URW} plaeg

40M SIU}
WY OO:TT Yseq Jaeyrtp)

- Ue DS

Woo'ssaidxauedawe INOA Woy SACd JUaWajej}s JUNODIe BUY} qesB NOA ueD

WY 85:01 URW} piAeg

yooe Xawe AW S! }eU}
WV 25:0T Yyseq Jaeydip)

(Peupa) JUNODIe Xa INCA WIJ S4qq a4) Ge NoA
ued ‘Aepo} aw Suldjay auOaWOS aAeu | “yoeq 4ej Ala 08 },UOp pue Aep e aye} sqodal 4YIOM® yl

WV 9S:0T UBUD plAeg
SULA0da1 Y40M® 0} UMOP |]019S

a LE07 ‘psgz Atenuer ul So] nN uayM

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 50 of 64

 

BY Poul, SUVHEIYHUU Sey ULL) PINE) oF

WY ZO'IL Yyseq Jaeyry)

 

(évl0Z/EZ/ZT) AW Jo BujUUIZ9q a4} 0} aBUeJ ajep ay} Jas OS]e NOA Ue>

SoA
WV TOIT URW} plaeg

 

TS Barge nes

cectcece cre

n JG NOLONTHSVM TL9@@DIDITD WOO SdSN  8AL St@zZ/Le/2T
8T°SOZ°***" NI YadSVC @ ONTLNGIYLSIG FARA SONL = ST@Z/TO/2ZT
TE EESES 00° 25255 ** © AN WOIVWWC SLANDILANUYTT,, “any STOZ/TO/ZT
ZB°TT'*** "AN MYOA MIN 88 AI GUVTIVD 8 AND.‘ S@NL ST9Z/T0/2T
Q0°00r"**** CN GOOMLSIM S@ “D'd ‘Vd NWWARYS. ‘ONL ST@Z/TO/zZT Tt

e¢ececcece

CS) <b

Cee ec cece

# ASD'(T) suoQoesuely

| WV OO'TT Yseq JaeYydI
Uv. Pp

mows “paces 1P3949 “JUNOIY INO, O} Uj BO] ‘pPsed jPesD MAN JNOA pantadad NOA WYUO?
40 JUNOIIV BUIJUD MAN e a}ealD ‘JuNody ssaidxq uedawy INOA 0} aay UlZO7

 

o@e

UIZO7] ssaidxy ue daw
Wod’ssaidxaued awe auljuo

 

a L10z ‘Diez Avenues csjuswayje

Ic AINA Jal—~APIINON—YVaANIN nat INOOA—-YANITHACOCN TIASaAnap_ioi IAllIAIP~IC Ban nnp—addArwricanhas
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 51 of 64

 

éqD dVON PIO au} 40} 31 Op 03 BuIA) n aye auO USIUM

Wd ZE:7T Yseq jaeysip

JEPOUrFDYOASATWS:SN UF 8SSTOO0NO/3}04
AopeASIUIWIPE-JaJSeW-J3JSUesI/qy4/Sp) Ud/WOD"1INJUIsyooqyDINb-djau #isdyy
WSN LON OG ‘G10) 911 ‘AWGN, 404 ulwpe saysewl se aw as NOA ue

Wd 22:77 URW} plaeq

dJeak 8U041M ay} pey Uoyoesues} JEU]
WV TT-TT URW plAaeg

SAL 8[8005 3! doup |},]

XL
WY €0:TT URW plaeg
qq
ddd S4SeT I +
BS }pd*(T) Arewiuing @
a LLOZ ‘pagz Avenues
& 4dd

 

 

 

 
 

Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14 20 _ Page 52 of 64

eo

Ue? Sb PD

HY PoUsATy SUMVLICJULUU Oey UCMUILIN J PAC LY]

4992 pjO UO JajJsues} 0} B1aYM das JUON |
Wd 9€:7T Yseq jaeyrdp

3992 pjo 34} JOJ JaJSeW al plas NOA UeD

Jajseu Joj Bulyse [lewa ue WIL 1UAS |
Wd Se:ZT URWSd plaeg

821 Aq paseuew si 1998 WGN Mau 3u}

4OASIO} U! JIE PjO BU} Ul Udaq JUaAeY | YOO] eNOS |

Wd vEzT Yyseq jaeyripy

XOWV WO1, SUOQIeSUeJ dnp Jo spaypuny aAey am op yon 3} MOH}
(PAqPS) YI 40} paljiq Bulaq a1,arq

QUO PjO a4} alajap 0} JUeM |

YjiOg
Wd ZE7T URWD plaeg

emda pom. ALAN. ™iy

40} 3! Op 0} BuUlAd2 nN due
~ LUZ ‘piez Arenuer +40} HOP 0} BULA] 9U0 YIIUM

Wd ZE:7T Yyseq joeysip

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 53 of 64

eee

UY’ BD Pp.

| “ LLOZ ‘piggy Avenues Wd 9E:cT Yyseg JRCYSIP] :

BU4SaW e OJU! UNI EHO | - 3Iq e Ul DAUD III
Wd 8€:2T yseq jaeysy

 

‘Aep [2 SUUN0IIe saop Jayyoug AW yony ayy MOY YQ]

SINU SW SBALIP 1

(P22!PS) £31 BAOWA Aj}e}0} aM UeD
Wd ZE:ZT URWUPD plAaeq

 

Aepo} Wody SAeP SOE JO} eJep 0} ssa2ze BARU OM

pajaaued sz yo
Wd 9E:2T Yyseq Jaeyriyy

 

HI ||P} pue jaoues

Ul] 84} NOA juas jsnf |
Wd 9€:7T UPL} plaeg

 

UOQdasqns ay} jaoued ued |

  

_ PPE PjO UO Jajsued} 0} a4ayM as quOp |

Fone
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 54 of 64

DM eos

Eel hel ed (e) hn]

}JO pauin} suoHesyyou sey ueWyID piaeq sy

paxd0] 34am asou} }YySnNou} |

éSTOZ 404
Wd 92:9 Yseq jaeydIP

 

1 Op | pinom asja asaupA

SoA
Wd S29 URW} plaeg
$}UNO0D9e SBBID Ul ION
Wd Sz:9 Yyseq jaeyrsp

MOU Y}UOW eB JOJ SBUeYD Sule Uda dAj]

FEU} JOf BFL] OO]

Wd S29 URW} piaeg

25uUasI|IP SUIOP qq M MOU SyOOg qYCN au} 0} SasUeYo sxeW Pjnoys am yuUIY} 1,UOH |
Wd S29 Yyseq jaeyrsip

‘segueYD SYeW O} Ss9d9e UIWpe Ja}seW padu | “jeLWa AW 0} Ajda4 nod ues

 

a LLOZ ‘PAETZ Auenuer Wd te-9 UWeUWRIS plAeg
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 55 of 64

"YUOW BP JBAO JO} SIU} UO BUDOM UdA9q dA,| “PjOy UO BulU.AUaAd sugind jou wi

Wd SE:9 URLWU}ID plAaeg

MOU S}00q asay} suysn{pe aq },upjnous apa

dV Jaye 115 HEM siy} 7,uUed AYAA

Wd veo Yyseg Jaeyrp

"NOA ppe-al 0} Said ys Jadsayxo0q Jay}oue ppe UED | OS Jasn e se NOA ajajap 0} paau |

"NO PI Bansy NOA |YuN sasuad|] asow Ang ysn{ Hd ‘AGXO |

~ Wd £7:9 WRUWID plAeg
Ue? Dp

dVd M enss} JOU Os pay M jas [eUIZIIO SAeY aM ains aye 0} JUEM ysn¢

n guild |j,| pue wo} wiy m dn duAs aw }9] Mou Aemans ul 4}
Wd 27:9 Yyseq Jaeyrdip

E3p! ON
Wd 92:9 URW plaeq

P2430] 349M asou} Y8noU} |
a LLOz ‘prez Avenues

iCTN7 104

 

 

 

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 56 of 64

oe

UT) Dp

“UIUOLU B 13A0 JO S14} UO SUDLOM Usaq dA,} ‘ploy UO BuIUyAUaAa sujnd jou wy 4

 

Wid 86:9 UWS piaeq
JOS MAU 0} 4Deq a}ep Ss Aepo} Ado’)
8S SIU} HdAaI Bas aney |j,] puy ZE:9

78S MAU 0} 43eq B}ep s,Aepo} Ado} eee
Wd ZE9 Yyseq JaeysIp, fe

  

SUBSW JLY} JEYM MOU 7,UON |
Wd 96:9 UBWYS plaeg

 

          

payepdn usaq $,}! 41 0} aAey 3,U0M No,

Wd 96:9 yseq jeeyrip |

4OM JO YJUOW e JJaAa1 0} BUIOS Jou Wi}
Wd SE:9 URWID plaeg

FEU} JO 440M pue jas mau e 0} Way} Adod Isnf os
Wd S€:9 yseq jaeyoiyy |

~ LL0Z ‘piez Alenuer Wd SE:9 UBWPD plaeg
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 57 of 64

uo ds

SFT Se me ee pe pm errr er

SUINJOJ BU} }e YOO] JOU PIp am ON
Wd ero Yyseq jaeyrdip

‘saxej pled aM ‘aw pjoj jaor eum WOJ4
Wd €¢°9 UBWHS plaeg

Xe} J9}s1391 D|| pue xe} sajes sem pled am IV
Wd zZe:9 Yseq JaeyrIy

PIP 9M asSinoOd IO
Wd 77:9 UBWHS plaeg

SSO] e pey app
sulyjAue Aed 3,Upip ap,
Wd 79 yseq jaeysip

YINW 00} pied apa

SOXE} 9/431 0} padu am JUIOd AWS Jy

BOjag

n ‘pez Arenue;
’ Lb0z PAS er Wd tr9 URW plaeg

we

 

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 58 of 64

VES

uvoSs

BALIP SY} UO S9Xe} JEU} BS 3,UOD |

ABO
Wd ro URW plAeg

 

SOO JO jas T AjuO S$} aya AyjediuydaL
Ayqua awes ay} aie Asay

dVQN Sumo ASD
Wd rv9 Yseq jeeyry

(PeuPs) 938 ‘ASD Ysnouy paioyy 3! 3Ng ‘pIp aM Moy pUe}ssapUN j,UOp |
Wd 7:9 URW plAeg

7M WoOuds d49M pied am saxey.
Asoyepuew Si YIIYM xe} Assi8a4 3323S OOSE$ & pue xe} sajes pied apa

Wd er9 Yyseqg jaeyriy

PIP |
Wd €y:9 URWID plaeg

 

    

a LLOZ ‘psgz Asenuer

Se abe

SUINJOJ BU} Je {O0] JOU PID aM ON Rae
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 59 of 64

“7 TN BT Ter ey
8ETOOO9SOSTZS8rT d/N8MHMElZ/saaiyoie/wosy2e|s-A|dasjauueys//:sdyy
‘AGUS awes ay} Sj! ples ysnf[ no,
Wd 75:9 URW plaeg

ASD 9} dVGN Wo4j ny} passed si pod os

oo dVON SUMO ASD SO3 Z Be ASD pue dVGN
HUY ® © - Ayqua niu} ssed e s,1) 09 awwes ay} JOU $j 3g
Wd TS:9 yseq jaeysy

éAuedwiod ates ay} 10} syoog Jo sjas OM} BAeY AUAA
Wd TS:9 URLS plaeq

|SOf UO JaISes }] S}YeW O} Ja4jaB0} pajy ase Ady} Ajajeiedas SUOP jas SYOOq ay 2g
Wd TS:9 yseq jaeysIy

eFE UY} 99/421 0} S¥OOq 34} ajepdn NoA 3, upip Aum AUedWOD awes 94} ae Adu} JI osiy

SALP 84} UO Saxe} JEU} Bas },UOD |

~ LOZ ‘Paez Avenues ‘10
orn | Wd br:9 URW plaeq

ZF

 

cS‘9

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 60 of 64

tee poe PO ep pe ee eg te awe
+ a tlhe RE Jl wy

JEUM MOU NOA |
Wd €S:9 URW} plAaeg
SOP BY} pausis aM aduls Aem S/U} Udag §,}|

. . Wd €S:9 Yyseq jaey!
Yes Yyseq faey rip
é}0U 34,Ad4} MOU Puy
Wd 25:9 URWID piaeg

suIzewy
Wd cS:9 Yyseq jaeysip

 

UOHESIBAUOD MAIA {TOC ‘PAET UEP aBeSsay Ja|IIG

Ajqua awes ay} ase Adu

yseq jeeysip §S
8E LOO09SOSTCSBVTA/N8BMHMElZC/seAiye/ Woo y2e|s-Ajda.jauueyo//:sdqqy
‘AUuUa SWeS 34} S11 ples isnf no,
Wd ZS:°9 URLS plaeg

 

a LLOz ‘prez Auenuer

~"" ONICTRT CLIAAQN ACT SAN 7 AIP ACN NP UWrINi

4 dVGN Wod} niyj} passed si pod os
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 61 of 64

UY BS DP

JO pauin} suoHesyjou sey UeWTD piaeq x

"OUR SOSSBUISNG BU} [|e B9YM MOU 0} UBM NOA }uUpjNOM 41 AA
snolaidsns Ajjeas W| MON, ¥S:9
S14} 9n4

S9|Du1D Ul BUDE} asino,
Wd 75:9 URW plaeg

 

MOU SI} SUIOp aq 0} UOSead OU SalaUL
ASD S| Yo] $7lU} |]e Way} puy
OM} JO OW @ UI M BUOP aq |IIM dVCN

Op 0} 8UlAJ} a4,NOA JeEUM pUeysuapUN },UOp | ‘MoU JOJ au ay,AayL
Wd es:9 Yyseq jaeyoiy

 

SauOp WL |
payepdn ysooq ay} ja3 no,

. CO JEUM MOU NOA
a LTO ‘Paez Avenuer Wd €5:9 URW} plaeg

 

*
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 62 of 64

JJO pauin} suowesyiyou sey UeWLID piaeq Az
suluapeaysip upy Ayaid sj] yng AymM pue pasuey> yeym ains JON
puodag pue aaoge auog Apeys 8uly}Aue auop Janau Je|jOp UPJ 2 Ud} ABABU SA]
@n3uo} AW pay aA,] pue OW Ma} ysed JO} HYS aI] aw sues] UBdq aA,NOA Ing

"NOA yNsUl
0} B8UIYy}AUe SUOP | aAeY aDUD JaAQN ‘SdauLed a4aM af ‘BUIUYAJaAa Mn paysnip ‘aaeq s4iA UD 9

40} NM PayJom | *S}UNOI3e JN 0} yj} p|NOM | N pjoz | "NM Us pinom | n pO} | ‘plouesed Ayjeas ave no,

Wd SS:9 _Yyseq jaeyry

 

aided sey |
Sube]} auOp WL,

“Ode SASSBUISN OU} |[E S4924M MOU 0} ]UEM NOA 7UpINOM 4LM
snolaidsns Ajjeas WW] MON

S14} 9n4

S941 Ul SUIy]e} auino, |
Wd 75:9 URWUS plaeg

 

 « LEOT ‘prez Asenuer
(a mn rs SIUT SUIOP Bq O} UOSAI OU Sala] pS:9
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 63 of 64

   
Case 1:17-cv-04327-LLS-RWL Document 180-40 Filed 08/14/20 Page 64 of 64

er act rae

es

 

SOR
WV ZE90°11 9107/2 1/s UAuRsUoy

Umou 9123

WY 0:90:11 9T0Z/Z1/S Use OW,

yan

WY TE:1S:6 91OZ/Z1/S USEC OMT,

ans ‘SoA,

WY 62:15:6 910Z/ZI/S UXuEsUOYy

gloye nod Yeo | ED

WY SZ:1S:6 9107/Z1/5 4seC OT

JBWOJSND YF) & YUM CO] 32 [[BI & sABy ]

WIV IZ:18°6 9TOZ/Z1/S Use SAN

¥3Qe ye) pure NOA TATA Jey 0} Wem - WaTqord ou sox
WY £1186 S1OZ/Z1/S USEC SATA

“stu Ayuepo poyuem | og

WY €1°15:6 9L0Z/Z1/s UAuEsUOy

“9y8I MO JO OseaIOUT NOge poyyes | Voy ‘sores
jmoge Wurnune Ise] pouoNusut ay pur ‘joauTODeND Joy syJOM MOU ay Jey] YOoqes"j UT poonou | asneoeq UITY Tim WoNesIoAuoo stip pownr “nok jnompia saregs Abe ynoge sae Suryse Joy Azos ‘oxy
WY £5:05°6 910Z/Z1/¢ UAramsuOY

-&., PRBIOUD[IZ Ul YOR Wy “OM! O1]H

© WY 0786 910Z/ZI/s UMuRstOYy

adn sey

WY 0S:L€°6 910Z/Z1/S 4Seq OW

 

 
